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                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MARYLAND
                                         (SOUTHERN DIVISION)

CHERYL B. MASTERSON                              *
19911 Ranger Lane
Huntington Beach, California 92646               *

         Plaintiff                               *

v.                                               *       Civil Action No.:

FUJI MOUNTAIN STEAKHOUSE, INC.                   *
4237 Branch Avenue
Temple Hills, Maryland 20748                     *

         Defendant                               *

*        *         *         *       *    *      *       *       *      *       *       *      *

                                         NOTICE OF REMOVAL

         Defendant Fuji Mountain Steakhouse, Inc., by its attorneys, Donald J. Walsh, Marie J.

Ignozzi, and Wright, Constable & Skeen, LLP, gives notice of removal to the United States

District Court of the following civil action pending in the Circuit Court for Prince George’s

County, Cheryl B. Masterson v. Fuji Mountain Steakhouse, Inc., Case No. CAL20-11870.

         1.        Removal is predicated on 28 U.S.C. § 1441. Jurisdiction of this Court is invoked

pursuant to 28 U.S.C. § 1332. Plaintiff Cheryl Masterson is a citizen of the State of California.

Defendant Fuji Mountain Steakhouse, Inc., is incorporated under the laws of the State of

Maryland and has its principal office at 4237 Branch Avenue, Temple Hills, Maryland 20748.

The amount in controversy is in excess of $75,000, exclusive of interest and costs.

         2.        Plaintiff alleges a claim against Fuji Mountain Steakhouse, Inc. (“Fuji”), for

personal injuries that allegedly occurred on May 5, 2018 when Plaintiff was sitting at a table in a

restaurant operated by Fuji. According to the state court complaint, Plaintiff alleges that she
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was sitting at a dining table with family when she attempted to stand and the chair she was sitting

on collapsed, and a sharp metal object punctured her buttock. Plaintiff filed a single-count

complaint alleging negligence against Fuji seeking damages in excess of $75,000. Fuji is the

only defendant in this action.

         3.        Attached hereto are true and accurate copies of the Complaint, Writ of Summons,

and Jury Demand, served on Defendant’s Resident Agent, Yi Qing Zhang, on May 19, 2020,

which constitutes a copy of all process, pleadings, and orders served on the Defendant in this

action. See 28 U.S.C.A. § 1446(a).


                                                        /s/ Donald J. Walsh
                                                Donald J. Walsh (Bar # 09384)
                                                Marie J. Ignozzi (Bar #29762)
                                                WRIGHT, CONSTABLE & SKEEN, LLP
                                                7 Saint Paul Street, 18th Floor
                                                Baltimore, Maryland 21202
                                                410-659-1300
                                                410-659-1350 (Fax)
                                                dwalsh@wcslaw.com
                                                mignozzi@wcslaw.com
                                                Attorneys for Defendant


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY, that on this 18th day of June, 2020, a copy of the Notice of

Removal was filed electronically via ECF and mailed first class, postage prepaid to Stephen N.

Caramenico, Esquire, Malloy Law Offices, LLC, 7910 Woodmont Avenue, Suite 1250,

Bethesda, Maryland 20814, Attorney for Plaintiff.


                                                        /s/ Donald J. Walsh

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                                        Donald J. Walsh




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